 1
     MARK WESBROOKS
     THE WESBROOKS LAW FIRM, P.L.L.C.
 2   15396 N. 83rd Ave., Ste. C100
     Peoria, Arizona 8381
 3
     (602) 262-0390 Fax: (888) 477-5598
 4   wesbrooksefax@gmail.com
     State Bar No. 018690
 5
     Attorney for Debtors
 6
                    IN THE UNITED STATES BANKRUPTCY COURT
 7

 8                            FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                       Chapter 13
10
     CATHERINE ANNE WILLIAMSON,                   Case No. 2:15-bk-15653
11
                                                           2:16-bk-00788
12                  Debtor.
13

14   In Re:                                       NOTICE OF HEARING RE:
                                                  DEBTORS’ SEALED DOCUMENT:
15
     ROBERT LANCASTER                             APPLICATION FOR APPROVAL OF
16   WILLIAMSON, III,                             CONFIDENTIAL SETTLEMENT OF
                                                  CLAIMS AND TO ALLOW FEES AND
17                 Debtor.                        COST OF SPECIAL COUNSEL AND
18                                                CERTIFICATE OF SERVICE

19                                                (Jointly Administered)
20   This pleading applies to the case or cases
     as noted above.
21

22

23                NOTICE IS HEREBY GIVEN that an initial hearing re: Debtors’

24   Sealed Document: Application for Approval of Confidential Settlement of Claims and to
25
     Allow Fees and Costs of Special Counsel will be held on September 17, 2019 at 2:30
26

27
     p.m., in the Courtroom of the Honorable Paul Sala at 230 N. 1st Avenue, 6th Floor,

28   Courtroom 601, Phoenix, Arizona 85003. Any issues concerning confirmation may be


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 1
     addressed. A copy of the Application for Approval of Confidential Settlement of Claims

 2   and to Allow Fees and Costs of Special Counsel are filed with the Court, but not
 3
     available for view given the Court’s order providing that proceedings shall be sealed.
 4
           Any responses thereto must be in writing and filed prior to the hearing, with the
 5

 6   Clerk, U.S. Bankruptcy Court, 230 N. First Avenue, Phoenix, Arizona 85003, with a
 7
     copy served on the United States Trustee, 230 N. First Avenue, Phoenix, Arizona 85003,
 8
     Russell Brown, 3838 N. Central Avenue, Suite 800, Phoenix, Arizona 85012, and
 9

10   Debtors’ counsel, Mark Wesbrooks, 15396 N. 83rd Avenue, Ste. C100, Peoria, Arizona
11
     85310 (Fax No. 888-477-5598).
12
                  Respectfully submitted, on the 24th day of July, 2019,
13

14                                            THE WESBROOKS LAW FIRM, P.L.L.C.
15

16                                            /s/MW018690
                                              Attorney for Debtors
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 1                              CERTIFICATE OF MAILING
 2

 3
        I, Mark Wesbrooks, of the Wesbrooks Law Firm, P.L.L.C. (“Counsel”), legal counsel

 4
     for Debtors, certify that the service of the Notice of Initial Hearing re: Debtors’

 5
     Sealed Document Application for Approval of Confidential Settlement of Claims and to

 6
     Allow Fees and Costs of Special Counsel was electronically mailed on July 24, 2019 to:

 7   RUSSELL BROWN
     ecfmailclient@ch13bk.com
 8

 9   DAVID WINTHROP COWLES on behalf of Creditor JPMORGAN CHASE BANK NA
     ecf@tblaw.com, gxh@tblaw.com
10

11
     MARY K. FARRINGTON-LORCH on behalf of Creditor AMERICAN EXPRESS
12
     CENTURION BANK
     MaryKFL@farringtonlorchlaw.com, ecf@farringtonlorchlaw.com
13

14   Rachel Elizabeth Flinn on behalf of Trustee RUSSELL BROWN
     rflinn@ch13bk.com, dsmith@ch13bk.com
15

16   NANCY J MARCH on behalf of Creditor Victoria Gunvalson
     nmarch@fclaw.com, mokoko@fclaw.com,kcooper@fclaw.com
17

18   MICHAEL D MAZUR on behalf of Creditor Victoria Gunvalson
     complaint@mazurbrooks.com
19

20   LEONARD 3 MCDONALD, JR. on behalf of Creditor JPMORGAN CHASE BANK,
     NATIONAL ASSOCIATION
21   ecf@tblaw.com
22
     NATHAN FREDERICK JONES SMITH on behalf of Creditor Bank of America,
23   National Association, as Assignee to Banc of America Mortgage Capital Corporation
     nathan@mclaw.org, AZ_ECF@mclaw.org,mcecfnotices@ecf.courtdrive.com
24

25   U.S. TRUSTEE
     USTPRegion14.PX.ECF@USDOJ.GOV
26

27   HELEN ELIZABETH WELLER on behalf of Creditor Dallas County
     beth.weller@publicans.com
28




                                      Notice of Hearing - 3
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     and mailed this 24th day of July, 2019, to;
 1

 2
     Rex C. Anderson on behalf of Mediator Rex C Anderson
     Law Office of Rex C. Anderson, P.C.
 3   Suite B111-471
 4
     15029 N. Thompson Peak
     Scottsdale, AZ 85260-2223
 5   mail@rexandersonlaw.com
 6
     SunTrust Bank
 7   Bankruptcy Department
     VA - RVW - 3034
 8
     P.O. BOX 27767
 9   RICHMOND, VA 23261
10
     SunTrust Mortgage Inc.
11   1001 Semmes Avenue
     Richmond, VA 23224
12

13   Suntrust Mortgage, Inc
     Bankruptcy Department RVW 3034
14
     PO Box 27767
15   Richmond, VA 23261
16
     Suntrust Mortgage, Inc
17   Bankruptcy Department RVW 3034
     PO Box 27767
18   Richmond, VA 23261
19
     and to all Creditors and interested parties as set forth on the Court’s official
20
     BRASS list.
21

22          I declare under penalty of perjury that the foregoing is true and correct.
23
                                                 By: /s/MW019690
24                                                  Mark Wesbrooks
                                                    State Bar No. 018690
25                                                  Direct: (602) 262-0390
                                                    Facsimile: (888) 477-5598
26

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                                         Notice of Hearing - 4
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